
The Supreme Court affirmed the judgment of the Court below on the 10th of March, 1884, in the following opinion:
Per Curiam.
This certiorari brings up the record only. Much was urged in the argument that we are not able to find in the record. The Act of 16th of February 1883, (P. Laws 5) fairly enters into the case, and demands that construction be given to some of its provisions. As the election was held on the 20th of February, 1883, only four days after .the passage of the Act, it was impossible to give the five days notice contemplated. We do not think that this fact invalidates the election. The right to elect School Directors in pursuance of an order of the Court of Quarter Sessions was clear and positive. The order directing these School Directors to be elected on the 20th of February was actually made. The number of days specified in the Act are directory. Under the facts of the case it was not essentially necessary that the petition be presented, and the order be made five days before the election. We discover no fatal error in the record.
Judgment affirmed.
